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      ORDERED in the Southern District of Florida on March 10, 2019.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov
      In re:

      YURI LYUBARSKY and                                   Case No. 18-16659-LMI
      OLGA LYUBARSKY,                                      Chapter 7

          Debtors.
      _________________________________/

             ORDER GRANTING TRUSTEE’S MOTION TO COMPROMISE CONTROVERSY
          AND APPROVE SETTLEMENT AGREEMENT BETWEEN THE TRUSTEE AND DEBTORS

               THIS CAUSE came before the Court on March 6, 2019 at 11:00 AM upon Chapter 7

      Trustee, Marcia T. Dunn’s (the “Trustee”) Motion to Compromise Controversy and Approve

      Settlement Agreement between the Trustee and Debtors (the “Settlement Motion” or “Motion”)

      [D.E. 65].1

               The Court, having reviewed the Settlement Motion and record in this case; and the

      Trustee having represented that the Settlement Motion was served on all parties required by


      1
       All capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the
      Settlement Motion [D.E. 65].
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Bankruptcy Rule 2002(a)(3) and Local Rule 9013-1(D), that the response time (as provided by

Local Rule 9013-1(D)) has expired, that no one has filed, or served on the movant, a response to

the Settlement Motion, and that no creditor or other party appeared at the March 6, 2019

evidentiary hearing on the Settlement Motion to oppose it; and the Court, finding that the notice

of the proposed compromise and settlement is sufficient to comply with Bankruptcy Rules 9012

and 2002(a)(3) and Local Rule 9013-1(D), and any other applicable notice requirement; and

further finding that the settlement subject of the Settlement Motion meets the criteria set forth in

In re Justice Oaks II Ltd., 898 F.2d 1544 (11th Cir. 1990), and thus in the best interests of this

Estate; and for the reasons more particularly stated in Court on the record as if fully incorporated

herein, it is

        ORDERED and ADJUDGED that:

        1.      The Settlement Motion is GRANTED.

        2.      The proposed settlement between the Trustee and the Debtors, YURI

LYUBARSKY and OLGA LYUBARSKY (collectively, the “Debtors”), is approved on the

terms and conditions set forth in the Settlement Motion and Settlement Agreement, which terms

and conditions are incorporated herein by reference (the “Agreement”).

        3.      The Court retains sole and exclusive jurisdiction to: (a) implement, interpret and

enforce the terms of the Settlement Motion, this Order, and the Agreement; and (b) resolve any

claims, controversies or disputes amongst the parties arising from or related to the Agreement

and the relief authorized herein.

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Submitted by:

Alexis S. Read, Esq.
DUNN LAW, P.A.
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Attorney Alexis S. Read shall serve a copy of this Order on all interested parties and shall file a Certificate of Service.
